Case 3:11-cv-00065-JRS Document 3 Filed 01/26/11 Page 1 of 2 PagelD# 21

AO 458 (Rev, 06/09) Appearance of Counsel .

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

KYSS BURTON, BY HER MOTHER,
SAKIA HALL AS NEXT FRIEND
AND .
SAKIA HALL, -
Plaintiffs,
¥. C.A. No. 3:11lev065
HAROLD FORD,
Defendant.

APPEARANCE OF COUNSEL

To: The Clerk of Court and All Parties of record

1 am admitted or otherwise authorized to practice in this court, and I appear in this case as ©

counsel] for defendant Harold Ford.

Date: January 26, 2011 HAROLD FORD

By Counsel

{sf

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CERTIFICATE

I hereby certify that on the 26" day of January, 2011, I electronically filed the foregoing

with the Clerk of the Court using
to the following:

the CM/ECF system, which will send notification of such filing
/

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